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     The Law Office of Olaf W. Hedberg
1    Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 301
2    Sacramento, California 95814
     (916) 447-1192 office
3    ohedberg@yahoo.com
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8
          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
9
                                             CALIFORNIA
10

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12                                                  Case Number: 2:17-CR-234 TLN
     THE UNITED STAES OF AMERICA,
13                                                  STIPULATION AND ORDER
                          Plaintiff,
14                                                  DATE: October 22, 2020
     V.                                             TIME: 9:30 am
15                                                  DEPT: TLN
     PATRICK BOTELLO,
16
                          Defendant.
17

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19
                                            STIPULATION
20
           1. At the previous Status Conference, this matter was set for status/change of plea on
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           October 22, 2020.
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           2. By this stipulation, defendants now move to continue the status conference until
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           December 17, 2020, at 9:30 a.m., and to exclude time between October 22, 2020, and
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           December 17, 2020, under Local Code T4.
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1    3. The parties agree and stipulate, and request that the Court find the following:

2    a) The government has represented that the discovery associated with this case includes

3    over 14,000 pages and several hours of recorded telephone conversations. All of this
4    discovery has been produced directly to counsel.
5    b) Defense counsel desires additional time to review the discovery, prepare for trial in
6    this matter.
7    c) Counsel for defendants believe that failure to grant the above requested continuance
8    would deny them the reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence.
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     d) The government does not object to the continuance.
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     e) Based on the above-stated findings, the ends of justice served by continuing the case as
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     requested outweigh the interest of the public and the defendant in a trial within the
13
     original date prescribed by the Speedy Trial Act.
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     f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
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     seq., within which trial must commence, the time period of October 22, 2020, to
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     December 17, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§
17
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
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     the Court at defendant’s request on the basis of the Court’s finding that the ends of justice
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     served by taking such action outweigh the best interest of the public and the defendant in
20
     a speedy trial.
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     4. Nothing in this stipulation and order shall preclude a finding that other provisions of
22
     the Speedy Trial Act dictate that additional time periods are excludable from the period
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     within which a trial must commence.
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1          IT IS SO STIPULATED.

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3
     Dated: October 20, 2020                        MCGREGOR W. SCOTT
4
                                                    United States Attorney
                                                    /s/ JUSTIN L. LEE
5                                                   JUSTIN L. LEE
                                                    Assistant United States Attorney
6

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8    Dated: October 20, 2020                        ___/s/ Olaf W. Hedberg
                                                        Olaf W. Hedberg
9                                                   Attorney for Patrick Botello
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11
                                  FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED.
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     Dated: October 20, 2020
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16                                              Troy L. Nunley
                                                United States District Judge
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